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                UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

JAMESON TAYLOR ANDERSON,
ROBERT DEAN ANDERSON, and            CONSOLIDATED CASES
ROGER MALDONADO,                     PURSUANT TO FED. R. CIV. P. 42
  Plaintiffs and Counterclaim        Civil Action File No.
  Defendants,
                                     1:19-cv-05582-VMC
           v.

USI INSURANCE SERVICES LLC,

  Defendant and Counterclaim
  Plaintiff.

USI INSURANCE SERVICES LLC,

  Plaintiff and Counterclaim         Civil Action File No.
  Defendant,
                                     1:20-cv-02490-VMC
           v.

SOUTHEAST SERIES OF
LOCKTON COMPANIES, LLC,

  Defendant and Counterclaim
  Plaintiff.


   DEFENDANTS’ OPPOSITION TO USI’S MOTIONS IN LIMINE
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      Jameson Taylor Anderson (“Taylor Anderson”), Robert Dean Anderson

(“Dean Anderson”), and Roger Maldonado (“Maldonado”) (collectively, “The

Former Employees”) and Southeast Series of Lockton Companies, LLC (“Lockton”)

respectfully submit the following opposition to USI Insurance Services, LLC’s

(“USI”) Motions in Limine.

1.    The Court Should Deny USI’s Motion in Limine No. 1 as An Unjust
      Effort to Impose Strict Liability on The Former Employees.

      USI’s first motion in limine asks the Court to preclude “hypothetical lay

witness testimony” regarding “what witnesses might have done under different

circumstances.” Ironically, the only party that seeks to introduce hypothetical

testimony from lay witnesses about what might have happened under different

circumstances is USI.

      Here, however, USI’s motion should be denied. USI’s claims are not strict

liability claims. Instead, USI must prove what would have happened under different

circumstances. That is because USI seeks to recover consequential damages in the

form of lost profits for the Former Employees’ alleged breaches of contract and

Lockton’s alleged interference with those contracts. The purpose of awarding

damages for breach of contract is to “put [the plaintiff] in as good a position as if

the defendant had fully performed the contract.” PMS Constr. Co. v. DeKalb

County, 243 Ga. 870, 872 (1979) (emphasis added). Thus, it is USI’s burden—not

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Defendants’—to prove to the jury what would have happened if the alleged

contractual breaches had not occurred.          See Georgia Power etc., Co. v. Fruit

Growers Express Co., 55 Ga. App. 520, 527 (1937) (“The measure of damages in

the case of a breach of contract is the amount which will compensate the injured

person for the loss which a fulfillment of the contract would have prevented or the

breach of it entailed. In other words, the person injured, is, so far as it is possible to

do so by a monetary award, to be placed in the position he would have been in had

the contract been performed.” (internal citations omitted) (emphasis added)).

      Moreover, because USI seeks to recover lost profits as its measure of

consequential damages, USI must prove what would have happened in this

hypothetical scenario with reasonable certainty. Bearoff v. Craton, 350 Ga. App.

826, 835 (2019). As explained by the Georgia Court of Appeals in Authentic

Architectural Millworks, Inc. v. SCM Grp. USA, Inc., “to recover lost profits one

must show the probable gain with great specificity as well as expenses incurred in

realizing such profits.”      262 Ga. App. 826, 831 (2003) (citations omitted).

Moreover, the party seeking recovery must prove the alleged lost profits are “directly

traceable to the acts of the other party.” Id.

      Thus, USI must prove that it would have achieved its alleged lost profits if the

alleged breaches here had not occurred. To do that, USI intends to present testimony


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from its lay witnesses like Robert Allen, Robert Meyers and James Dunn,

speculating, for example, on what would hypothetically have occurred if, for

example, Dean and Taylor Anderson had given notice before resigning from USI.

This is precisely the kind of speculative testimony that should be excluded from trial

, if the logic of USI’s motion is accepted.

      In contrast, Defendants intend to introduce testimony from client witnesses

about their actual, real-world reasons for moving their accounts from USI to

Lockton, why they were dissatisfied with USI’s services, the strength of their

personal relationships with the Former Employees, what their options were once the

Former Employees left USI, and whether the clients would have remained at USI

after the Former Employees stopped working there. Such evidence is directly

relevant to the hypothetical question that the jury must decide; namely, whether USI

has proved with reasonable certainty that the customers it claims it lost due to the

Former Employees’ alleged contractual breaches would have stayed at USI and

generated the profits USI seeks if only the Former Employees had resigned from

USI with 60 days’ notice or without soliciting any customers’ business. 1 None of

these questions are hypothetical, and none of this testimony requires the witnesses


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       The Former Employees deny they solicited any clients’ business to leave
USI and go to Lockton, and USI will not be able to prove this element of its claims
for breach of nonsolicitation agreements at trial either.

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to speculate. Instead, the client witnesses will be testifying based on their personal

knowledge about what actually happened and why they made the decisions they

made.

        USI’s cited case law makes clear that witness testimony based on personal

knowledge that helps the jury address relevant hypothetical questions is admissible.

Sempra Energy v. Marsh USA, Inc., CV0705431SJOJCX, 2008 WL 11335050, at

*13 (C.D. Cal. Oct. 15, 2008) (“[L]ay witnesses can testify regarding the lay

witness’s particularized knowledge . . . by virtue of his or her position in a particular

business” to illuminate the question of whether the plaintiff would have obtained the

insurance policy at issue); see also Athridge v. Aetna Casualty & Surety Co., 474 F.

Supp. 2d 102, 105 (D.D.C. 2007) (excluding testimony about what a witness would

have done if present, but allowing testimony about what the witness generally did

because it was relevant in determining whether the unlicensed, underage family

should have believed he was authorized to use the witnesses’ vehicle). Thus, the

client witnesses should be permitted to testify about why they made the decision to

move their business, their intentions upon learning of the Former Employees’

departure, and the client witnesses’ consideration of competing reasons for staying

or leaving. Client witnesses should also be allowed to testify about what they could

do in terms of moving their business, and where appropriate, whether a breach of


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contract affected their decisions. This testimony is not speculative, because it is

grounded in the clients’ personal knowledge, their relevant state of mind, and

whether the Defendants’ alleged misconduct caused USI’s damages.             Brim v.

Midland Credit Mgmt., Inc., 795 F. Supp. 2d 12555, 1268 (N.D. Ala. 2011) (finding

testimony is appropriate where not “based solely on speculation”).

      Accordingly, USI’s Motion in Limine No. 1 should be denied in its application

to the client witnesses. Such witnesses should properly be permitted to testify about

what they could do, their actual states of mind, and the reasons why they moved their

insurance business from USI. Allowing such testimony will provide the jury with a

clear understanding of the clients’ actions and motives, which is essential for the

jury to determine causation and, if necessary, the precise amount of damages to be

allowed. In contrast, granting USI’s motion in limine would effectively impose strict

liability on the Former Employees and Lockton—a result not countenanced by

Georgia law or due process.

2.    USI's Motion in Limine No. 2 Should be Denied Because It Is
      Impractical and Unjust.

      Whether the Former Employees wrongfully solicited the 25 former USI

clients who moved their business to Lockton is a central issue for the jury to decide.

USI’s request to prohibit any witness testimony that “embraces the ultimate legal

question whether the Former Employees solicited, diverted, or induced the

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termination of any USI Client Account” is overbroad, impractical, and would

deprive the jury of critical lay testimony that would assist the jury in deciding the

sole liability issue remaining against the Former Employees.

       The agreements at issue do not prohibit the Former Employees from soliciting

generally and only state that the Former Employees cannot “solicit services in

competition with the Company to a Client Account.” (Dean Anderson Agmt. § 7.7,

Doc. 7-2, p. 38; Roger Maldonado Agmt., § 4.5, Id. at p. 53; Taylor Anderson Agmt.,

§ 7.5, Id. at p. 72.) (emphasis added). Thus, the ultimate issue is whether a specific

type of solicitation occurred with respect to a specific type of client, as those

concepts are defined in the parties’ contracts.

       Georgia law is clear that only certain types of communications constitute

solicitations. Akron Pest Control v. Radar Exterminating Co., 216 Ga. App. 495,

497 (1995) (according to its dictionary definition, solicitation means “to entreat,

importune. . . to endeavor to obtain by asking or pleading . . . to urge . . . .”); LifeBrite

Laboratories, LLC v. Cooksey, 1:15-CV-4309-TWT, 2016 WL 7840217, at *8 (N.D.

Ga. Dec. 9, 2016) (“To solicit is to use some sort of salesmanship, to encourage and

persuade another to do something.”); Vulcan Steel Structures, Inc. v. McCarty, 329

Ga. App. 220, 223 (2014) (“The law is clear: solicitation requires some type of

affirmative action[.]”). While fact witnesses should not opine on ultimate legal


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questions, the term solicitation was used in the agreements, and so fact witnesses

realistically must be able to use it. Moreover, to ensure a fair trial, the fact witnesses

must be permitted to testify about (1) the communications that USI contends

constituted a “solicitation” and (2) the context surrounding those communications.

Finally, USI has asserted claims for attorneys’ fees and punitive damages that

require it to establish Defendants acted in “bad faith” or with similar, subjective

improper intent. Thus, Defendants’ understandings of what they did, why they did

it, and whether they believed their conduct constituted solicitation is directly relevant

to their states of mind put at issue by USI.

      For example, USI contends that the Former Employees’ intent is a proper

issue for the jury to consider. (Doc. 347-1, p. 9, FN. 1.). The Former Employees

must be allowed to offer evidence of their lack of intent, including testimony that

the Former Employees believed that their actions did not violate their contractual

obligations. Further, because solicitation involves a third party, the jury should hear

directly from the client witnesses whether the communication conveyed to them was

a request or plea of some kind. USI cannot, on the one hand, accuse the Former

Employees of improperly soliciting USI clients, but, on the other hand, preclude the

Former Employees from discussing the meaning of solicitation or providing context




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to the alleged misconduct. Such a result is both impractical and contrary to Georgia

law.

       In addition, because only certain types of solicitation are prohibited under the

Former Employees’ employment agreements, testimony about the abstract concept

of solicitation should not be barred. Solicitation to go see a movie with spouses, or

play a match of tennis, or attend a concert would not violate the contract if it were

not tied to providing insurance services. Accordingly, the Former Employees should

be permitted to elicit testimony that the alleged misconduct was not solicitation to

provide competing insurance services under the contracts.

3.     USI’s Motion in Limine No. 3 Should Be Denied Because Tenax’s Total
       Fees Are Proper Evidence of Damages.

       In its third motion in limine, USI seeks to prohibit evidence of certain

payments for attorneys’ fees made by Lockton to its client Tenax Aerospace

Holdings, LLC (“Tenax”), unless the fees entries specifically identified USI’s Vice

President, Matthew Marchisotto’s, false statement. As set forth in Lockton’s

counterclaim, however, Marchisotto’s false statement that Tenax could not work

with the Former Employees caused Lockton to indemnify Tenax for all fees incurred

in dealing with the litigation between USI and the Former Employees, not merely

those that mention Marchisotto’s email. Lockton's additional damages, stemming

from USI's ongoing implication of Tenax in the litigation, naturally and probably

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resulted from this indemnity, traceable to Marchisotto’s email. Thus, rather than

being an issue of dismissed claims, as USI argues, Tenax’s fees are relevant to, and

evidence of, Lockton’s damages. The jury is entitled to hear evidence of all damages

suffered by Lockton, and the Court should deny USI’s motion.

       While USI argues that the attorneys’ fees are relevant only to dismissed

claims, that argument misconstrues the Court’s prior ruling. Contrary to USI’s

suggestion, Lockton asserted only a single counterclaim of tortious interference in

Count I, (see 2020 Case, Doc. 11 ¶¶ 40–48), but the Court analyzed this claim based

on the viability of two discrete and independent acts of “wrongful conduct”: (1) an

admittedly false email sent by Marchisotto on January 16, 2020, to the private equity

firm that owns Tenax; and (2) an April 29, 2020 letter sent by USI’s counsel to all

customers, including Tenax. (2020 Case, Doc. 81 at 13–21).2 When addressing

USI’s motion to dismiss, the Court found that the April 2020 letters did not, on their

own, amount to “wrongful conduct.” (Id. at 14–16). The Court also did not dismiss

Count I, as Marchisotto’s email did amount to “wrongful conduct.” (Id. at 17–21).

But the Court did not address the total scope of recoverable damages, which was not

at issue.



2
  As background, the “wrongful conduct” standard is discussed at length in
Lockton’s Consolidated Motions in Limine. (Doc. 230 at 12–15).

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      Lockton is entitled to introduce evidence that, because of Marchisotto’s email,

Lockton agreed to indemnify Tenax for its continued involvement in this litigation

to avoid Tenax deciding to move to another broker to escape legal expenses.

Because Lockton was forced to enter this agreement as a result of USI’s wrongful

conduct, Lockton was damaged by all fees Tenax incurred in the litigation that were

indemnified, regardless of the specific act to which Tenax responded. See Artrac

Corp. v. Austin Kelley Advert., Inc., 197 Ga. App. 772, 774–75 (1990) (stating that

interference with contractual relations occurs whenever the defendant’s conduct

“makes the performance more difficult or expensive”).

      Proximate cause “encompasses all of the natural and probable consequences

of an action, unless there is a sufficient and independent intervening cause.” See

Principle Sols. Grp., LLC v. Ironshore Indem., Inc., 944 F.3d 886, 892 (11th Cir.

2019) (finding, under Georgia law of proximate causation, that causal chain was not

broken between original fraudulent email and a subsequent series of phone calls and

emails) (quotations omitted). Where there is a dispute over whether the harm was

proximately caused by the initial act, a jury must decide the issue. Johnson v. 3M,

563 F. Supp. 3d 1253, 1327 (N.D. Ga. 2021) (“It is axiomatic that questions

regarding proximate cause are undeniably a jury question[.]” (quotations omitted)).




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      Here, USI’s motion appears to argue that intervening events broke the causal

chain between Marchisotto’s email and the subsequent fees Tenax incurred.

However, further actions by the same tortfeasor are not an independent, intervening

cause as a matter of law, and based on Lockton’s counterclaim, USI could

undoubtedly foresee that Tenax would continue to incur legal fees (at Lockton’s

expense) after Marchisotto’s misrepresentations. 3 (See 2020 Case, Doc. 1 ¶ 39).

Thus, all fees incurred by Tenax after being dragged into this litigation by USI are

properly presented to the jury as evidence of Lockton’s damages. Moreover, USI

has failed to show any prejudice by the introduction of such evidence that

substantially outweighs the relevance under Rule 403.        In re Seroquel Prods.

Liability Litig., No. 6:06-md-1769-Orl-22DAB, 2009 WL 260989, at *1 (M.D. Fla.

Feb. 4, 2009) (stating that a movant bears the burden of showing inadmissibility).

      Finally, even if the additional fees were deemed not directly relevant to

Lockton’s interference claim against USI, it would still be relevant to Lockton’s

claim to attorneys’ fees. Because a claim for attorneys’ fees under Georgia law


3
       See Retail Prop. Tr. v. McPhaul, 359 Ga. App. 345, 352 (2021) (“[T]he well-
established doctrine of intervening causes states that there can be no proximate cause
where there has intervened… an independent act or omission of someone other than
the defendant[.]” (citations omitted) (emphasis added)); Blondell v. Courtney Station
300 LLC, 362 Ga. App. 1, 8 (2021) (“For an independent act or event to eliminate
other conduct as a proximate cause, it must be neither foreseeable… nor triggered
by the defendant’s act[.]”).

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requires proof of bad faith, stubborn litigiousness, or unnecessary trouble and

expense, O.C.G.A. § 13-6-11, USI’s actions toward Tenax (and Lockton’s

indemnification of other clients based on USI’s similar conduct) are relevant to these

issues, USI’s intent, and its general course of dealing, and as such, it must be

submitted to a jury. See Fed. R. Evid. 401.

4.    USI’s Motion in Limine No. 4 Should be Denied to Preserve Crucial
      Evidence About Defendants’ Understanding of the Restrictive Covenants.

      Defendants do not intend to present evidence or argument that the restrictive

covenants in this trial are unenforceable. However, because USI (1) seeks its

attorneys’ fees for alleged bad faith or stubborn litigiousness under O.C.G.A. § 13-

6-11; and (2) seeks to recover punitive damages for the tort claims asserted against

Dean and Taylor Anderson and Lockton, USI has put Defendants’ intentions and

states of mind at issue in this trial. To prevail on these claims, USI must prove that

Defendants acted in bad faith or worse.        Consequently, Defendants’ personal

understandings of what the contractual provisions meant and whether they were

enforceable—even if their interpretations were wrong—are admissible and directly

relevant to the claims the jury must decide.

      Any confusion that such testimony could create about the ultimate

enforceability of the contractual provisions can be addressed by the Court’s

instructions, and, if necessary, through an additional clarifying instruction when

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such testimony is offered. But the testimony about Defendants’ actual, good-faith

beliefs and intentions must be allowed at trial to permit Defendants a fair opportunity

to defend themselves against USI’s claims, and USI’s motion should therefore be

denied.

      O.C.G.A. § 13-6-11 requires USI to show that the Former Employees “acted

in bad faith, ha[ve] been stubbornly litigious, or ha[ve] caused [USI] unnecessary

trouble and expense.” “The ‘bad faith’ referred to in the statute must have arisen out

of the transaction that spawned the lawsuit rather than out of the defendant's conduct

in defending the case.” Salsbury Labs., Inc. v. Merieux Labs., Inc., 735 F. Supp.

1555, 1580 (M.D. Ga. 1989). But, “bad faith damages are not recoverable where

there exists a bona fide controversy.” Hightower v. GM Corp., 175 Ga. App. 112,

115 (1985) (applying prior statute OCGA § 20-1404). Likewise, evidence of a

“disputed claim” defeats a claim of stubborn litigiousness. Gordon v. Ogden, 154

Ga. App. 641, 642 (1980) (applying prior statute O.C.G.A § 20-1404).

      The state of mind of the relevant Defendants is also relevant and critical to

USI’s claim for punitive damages. E. Prop. Dev. Ltd. Liab. Co. v. Gill, 558 F. App’x

882, 887 (11th Cir. 2014) (stating that, to recover punitive damages on tort claim,

defendant must have had the “requisite bad state of mind” pursuant to O.C.G.A §

51-12-5.1.).


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        The law is clear that USI’s claims for attorney fees and punitive damages

requires an assessment of the Former Employees’ conduct and state of mind prior to

the Court’s rulings on summary judgment. Indeed, the Court’s own pre-summary

judgment rulings largely shaped the Former Employees’ and Lockton’s behavior

prior to summary judgment. For example, the Court refused to enforce the full scope

of USI’s covenants during the injunction phase of the case in late 2019 and early

2020. The Court largely denied USI’s TRO motion in its Order dated January 6,

2020.    The Court refused to enforce the nationwide geographic non-compete

territory against Dean Anderson, and twice explicitly allowed Dean Anderson to

work in Charlotte. See TRO, Doc. 31, p. 3 (“Dean Anderson is not enjoined from

working for Lockton in Charlotte, North Carolina.”) and Preliminary Injunction

Order, Doc. 114, p. 5 (same).

        The same is true with respect to the 60-day notice clause against the

Andersons at Count I. The Court considered USI’s request to bar the Andersons

from working for Lockton, and properly rejected USI’s position as unsupported by

the governing legal authority. (Doc. 31, p. 2, ¶1.)

        The Court expressly declined to enforce USI’s covenants as written, and the

Former Employees’ relied on the Court’s orders in determining what they could and

could not do. The rulings and Former Employees’ reliance on them are thus highly


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relevant to their defense against USI's claims for attorneys' fees under O.C.G.A. §

13-6-11. Lockton also relied on the Court’s preliminary rulings when it allowed the

Andersons to work for Lockton and permitted Dean Anderson to be employed, but

only in Charlotte, North Carolina. See Chaney v. Harrison & Lynam, LLC, 308 Ga.

App. 808, 817–18 (2011) (finding party’s demonstrated, good faith communications

required dismissal of tortious interference for lack of malice).

      USI’s claims for attorney fees and punitive damages put at issue the

Defendants’ mindset prior to litigation and in the early stages of the case. Judge

Jones’ ruling years later on summary judgment does not change the good faith

manner in which the Defendants conducted themselves before litigation commenced

and before the summary judgment decision was made.

      As such, USI’s attempt to bar any evidence or argument perceived as

”inconsistent” with the Court's ruling in its March 29, 2022 Order (Doc. 286) is

overreaching and would exclude pertinent, essential evidence. While the Defendants

acknowledge that certain issues have been decided by the Court and are not being

relitigated at trial, the Court should deny USI's Motion in Limine No. 4 because it

seeks to preclude evidence essential to the defense of USI’s claims.




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5.    USI's Motion in Limine No. 5 Should Be Denied Because It Lacks Nuance
      and Restricts Fair Presentation of Dean Anderson's Health.

      USI’s Motion in Limine No. 5 aims to confine evidence of Dean Anderson's

medical leave of absence while employed at Lockton to statements characterizing

his leave as “medical” or “for personal health reasons” without additional context.

The Former Employees have proposed that USI enter into a stipulation that “Dean

Anderson was on medical leave from April 7, 2020, until August 10, 2020, and

during that time period he performed no work for Lockton. USI does not assert that

Dean Anderson engaged in any wrongdoing or conduct that was a breach of his

agreements with USI during that time.” This stipulation, if agreed to, would limit

the need to introduce details of Dean Anderson’s health or medical condition while

he was on leave of absence.

      However, if USI refuses to enter the stipulation and contends at trial that Dean

Anderson was working for Lockton or breaching his USI agreement between April

7-August 10, 2020, Defendants will need to present evidence of the severity of his

medical condition. In such a scenario, the details of Dean Anderson’s health would

be directly relevant to the question of whether he was secretly working for Lockton

during his leave of absence and what, if any, damages USI suffered. Consequently,

USI's Motion in Limine No. 5 should be denied.



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6.    USI's Motion in Limine No. 6 Should Be Denied Because It Is Contrary
      to Settled Georgia Law and a Material, Disputed Issue.

      Because USI will not produce evidence at trial showing that any customer

moved from USI to Lockton due to a solicitation by the Former Employees, USI

seeks to exclude evidence and argument showing clients are free to choose with

whom they conduct business. USI cites no case law for this argument, presumably

because it directly contradicts Georgia law. Evidence and argument of a client’s

right to choose not only accords with well-settled law in Georgia, it is crucial to the

issue of whether the Former Employees solicited USI clients or whether clients made

independent, lawful decisions to leave USI.        The fact that this argument and

testimony undermines USI’s purported damages claim is not a basis for granting

USI’s motion in limine. As such, USI’s motion should be denied.

      A client’s freedom to choose where to conduct business is a cornerstone of

Georgia law, not an argument concocted for trial, because a client that moves of its

own free will cannot have been actively solicited by a former employee. See Gen.

Assurance of Am., Inc. v. Overby-Seawell Co., 893 F. Supp. 2d 761, 775 (E.D. Va.

2012) (providing an extensive survey of Georgia law and finding no case law “in

which a sales pitch made after the customer initiated contact and requested the pitch

constitutes solicitation under Georgia law” (emphasis added)); Burson v. Milton Hall

Surgical Assocs., LLC, 343 Ga. App. 159, 164 (2017) (finding covenants

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unreasonable when it prohibited “the acceptance of business from unsolicited

[clients]”). As stated by the Georgia Supreme Court, a “company cannot prevent

[former employees] from merely accepting overtures from [former employer’s]

customers,” because that would be an unreasonable restraint on trade.           Orkin

Exterminating Co. v. Walker, 251 Ga. 536, 538 (1983).

      Thus, the mere acceptance of a former client’s business is distinctly not

solicitation. See Am. Control Sys. v. Boyce, 303 Ga. App. 664, 671 (2010) (finding

no solicitation where clients moved “on [their] own initiative”); see also Whimsical

Expressions, Inc. v. Brown, 275 Ga. App. 420, 423 (2005) (“[A]lthough [employee]

did work for former clients of [former employer] following his termination of

employment, he did not solicit those clients, they came to him.”). Judge Boulee of

this Court recently held that an employee who merely tells clients about his new

employment does not solicit those clients, even if the clients transfer their business

later to follow the employee. Mercer Glob. Advisors Inc. v. Crowley, No. 1:21-CV-

03932-JPB, 2023 WL 2531727, at *6 (N.D. Ga. Mar. 15, 2023) (finding a covenant

prohibiting “not only the solicitation of former clients but also acceptance of

business from unsolicited former clients” unreasonable and unenforceable).

      In sum, USI’s motion to exclude references to a client’s freedom to choose its

insurance broker should be denied because USI’s argument is contrary to Georgia


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law, the evidence is directly relevant to key issues the jury must decide, and

excluding such evidence and argument would unfairly deprive Defendants of an

opportunity to defend themselves against USI’s claims.

7.    USI's Motion in Limine No. 7 Should Be Denied Because It Is Moot,
      Overbroad, and Misstates the Legal Standard.

      The Court should deny this motion in limine, as misstates the law of this

Circuit, is overbroad, and is not targeted toward any particular evidence or argument.

As noted above, the jury must determine liability for each of the claims between USI

and Lockton in the 2020 case, which requires the jury to consider whether Lockton

and USI’s actions were “wrongful” in light of the Former Employees’ restrictive

covenants. Therefore, to the extent that USI asks for a blanket rule against any

argument that implicitly invites jurors to assess what a reasonable person would do

under the circumstances, USI’s motion should be denied.

      Importantly, the “Golden Rule” doctrine is also narrower than USI

represents.4 Jurors cannot be asked to put themselves in the shoes of individual



4
      Contrary to USI’s motion, a Golden Rule argument is not universally
prohibited in the Eleventh Circuit, and it may be used in some circumstances
where liability is disputed. Ermini v. Scott, 937 F.3d 1329, 1340 (11th Cir. 2019)
(noting that the Eleventh Circuit has “historically permitted golden-rule-ish
statements in the liability context”); Dunn v. Stewart, 4:17-CV-0134-HLM, 2019
WL 2256199, at *2 (N.D. Ga. Mar. 14, 2019) (stating that “[g]olden rule
arguments . . . are not necessarily improper for the purposes of liability”).

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parties in a way that would cause undue prejudice, but they can be asked to use their

own common sense or personal judgment. See Pac. Emp’rs Ins. Co. v. Orren, 160

F.2d 1011 (5th Cir. 1947) (“Certainly, jurors may use their common knowledge and

experience in weighing the evidence in a case.”); accord United States v. Moreno,

947 F.2d 7, 8 (1st Cir. 1991). Counsel are free to ask the jurors to do so, drawing

from common, real-life experiences and “mak[ing] effective use of themes,

metaphors, and references to popular culture in their arguments to a jury.” United

States v. Davis, No. 22-1002, 2023 WL 195159, at *5 (3d Cir. Jan. 17, 2023)

(quotations omitted). For these reasons, the Court should deny USI’s motion to the

extent it would preclude arguments that ask jurors to use their common sense and

judgment from their own experiences.

      Moreover, Defendants have no intention of asking jurors to consider the case

as if they were in a litigant’s shoes rather than as impartial jurors in any prejudicial

manner, and there is no reason for the Court to enter an in limine order that merely

requires the parties to honor well-established rules of trial practice. Therefore, USI’s

Motion in Limine No. 7 should also be denied as moot.

8.    USI’s Motion in Limine No. 8 Should Be Denied Because Evidence About
      USI’s Size Is Relevant to Claims Before the Jury.

      Defendants acknowledge that invoking “David and Goliath” comparisons is

ill-suited for this case. But USI’s Motion goes far beyond seeking to exclude

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prejudicial testimony and evidence, and instead, attempts to suppress pivotal

evidence at the heart of the issues. While abstract comparisons of USI’s size to the

Former Employees may not be relevant, USI’s size and resources are material

aspects of this case in several respects.

      USI's size and resources bear directly on the corporate raiding claim against

Lockton, and whether the departure of a mere five employees amounts to "a large

percentage of personnel." Carroll Anesthesia Assocs., P.C. v. Anesthecare, 234 Ga.

App. 646, 648 (1998) (corporate raiding claim requires a showing that the defendant

“attract[ed] away all or a large percentage of personnel upon whom the employer

must depend to function.”). Additionally, USI’s size directly impacts USI’s ability

to effectively manage, service, and cultivate business after the employee’s departure.

Gresham & Assocs. v. Strianese, 265 Ga. App. 559, 563 (2004) (finding insufficient

evidence of raiding when Plaintiff insurance company’s executives testified that

after the employees’ departure it was “totally capable of handling property insurance

and were totally capable of servicing and producing business.”).

      USI’s size and breadth are also relevant to the claims against the Former

Employees. For example, USI claims that it suffered harm from Dean Anderson

failing to provide 60-days advance notice of his resignation. Yet USI employs over

10,000 employees according to its website.        USI’s contention that it suffered


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substantial harm from the prompt departure of a single employee in the Aviation

Practice Group and a single Producer outside that group is a question the jury should

consider in light of many factors, including USI’s size and number of employees.

      Finally, USI proudly promoted its size and scope of business when seeking to

enforce a nationwide covenant against Dean Anderson. USI should not be permitted

to use its size and scope as a sword in support of its nationwide covenant, and yet be

shielded from any other implications regarding its size with respect to other claims.

Therefore, the court should deny USI's Motion in Limine No. 8.

9.    USI’s Motion in Limine No. 9 Should Be Denied Because the Evidence It
      Seeks to Preclude Is Properly Presented to the Jury.

      In yet another rehashing of USI’s attempt to undermine Lockton’s claim to

attorneys’ fees under O.C.G.A. § 13-6-11, USI argues that the Court should exclude

all evidence relating to Lockton’s fee claim, including testimony from Lockton’s

counsel and the fees themselves. In doing so, USI improperly asks the Court to

dismiss Lockton’s claim based on a deadline from September 2022 that USI itself

violated. See Gold Cross EMS, Inc. v. Children’s Hosp., 309 F.R.D. 699, 700 (S.D.

Ga. 2015) (denying motion in limine because “the typical in limine practice of

federal courts does not include the dismissal of claims”). This motion in limine is

nothing more than pure gamesmanship, and in doing so, USI grossly

mischaracterizes Georgia law.

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      Rather than provide the Court with a fourth rendition of the facts regarding

the parties’ fee experts, Lockton notes this dispute emerges from USI’s decision to

disclose an affirmative expert on attorneys’ fees two days before the end of

discovery, in clear violation of the local rules, and later insisting that Lockton should

have disclosed an expert earlier if it intended to support its own claim. (Doc. 218-1).

As set forth, in Lockton’s prior brief, USI has suffered no prejudice in the timing of

Lockton’s identification of an attorneys’ fees expert.5 (See Doc. 225 at 10–11).

Indeed, USI deposed Lockton’s expert on March 20, 2023, for more than four hours.

Thus, the Court should permit USI’s fee expert to testify, which would render this

motion in limine moot.

      Further, USI’s contention that expert testimony and a Rule 26 report are

necessary to support a fee claim under O.C.G.A. § 13-6-11 is simply wrong, as

explained in Lockton’s prior briefing. (See Doc. 225). “Georgia law expressly



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        Given that USI suffered no prejudice and its own late disclosure, it has
repeatedly presented inconsistent positions to support its arguments. This includes
arguing that USI’s originally belated identification of its fee expert was substantially
justified and harmless because of the time left to depose its expert before trial, (Doc.
195), but that the 3-page affirmative opinion of Lockton’s fee expert was not
justified or harmless, despite USI having the same opportunity to depose Lockton’s
expert, (Doc. 218-1). Similarly, USI argued that Lockton could not have asked for
relief in a reply brief, (Doc. 227 at 2–3) while simultaneously arguing that USI
should have the opportunity propound supplemental discovery and retain another
fee expert one month before trial—in the very same reply brief, (id. at 7).

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contemplates that an attorney can testify to support a claim for attorneys’ fees under

O.C.G.A. § 13-6-11, and it is allowed.” Strategic Decisions, LLC v. Martin Luther

King Jr. Ctr. for Nonviolent Soc. Change, Inc., No. 1:13-cv-2510-WSD, 2015 WL

4727143, at *9 (N.D. Ga. Aug. 10, 2015); see McSweeney v. Kahn, 347 F. App’x

437, 442 (11th Cir. 2009) (affirming decision to allow plaintiff’s counsel to testify

to attorneys’ fees amount, even though counsel “was not on the witness list and . . .

was not offered as an expert”). The clear consensus in state and federal courts allows

Lockton’s counsel to testify to both the amount and reasonableness of its fees. See

Tindall v. H & S Homes, LLC, No. 5:10-CV-044(CAR), 2012 WL 3637745 (M.D.

Ga. Aug. 22, 2012) (permitting plaintiff’s counsel to testify as an expert at trial,

despite failure to include a Rule 26 designation and expert report); McGinnis v. Am.

Home Mortg. Serv. Inc., No. 5:11-CV-284(CAR), 2013 WL 12221707 (M.D. Ga.

Aug. 9, 2013) (“An attorney’s testimony about the reasonableness of fees and

litigation costs is not an unusual practice, thereby eliminating any plausibility that

this is, as Defendant refers, a ‘surprise tactic.’”); see also 4WD Parts Ctr., Inc. v.

Mackendrick, 260 Ga. App. 340, 345 (2003) (upholding award of fees where

plaintiff’s attorney offered evidence at trial concerning attorney’s fees); Altamaha

Convalescent Ctr., Inc. v. Godwin, 137 Ga. App. 394, 397 (1976) (noting that “the

plaintiff’s attorney could himself testify as to reasonable fees”).


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      USI provides no contrary authority. The cases USI cites include a federal case

where a party opposing a fee claim received no notice of any witness in support until

the week before trial and no evidence of fees (which totaled more than $2 million)

until the morning of trial.      See Trade AM Int’l, Inc. v. Cincinnati Ins. Co.,

No. 1:08-CV-3711-ECS, 2010 WL 11512189, at *1 (N.D. Ga. Oct. 25, 2010).

Conversely, USI received Mr. Robbins’ report in February 2022 and has already

deposed him. USI also cites a Georgia case stating that expert opinion “must be

presented” to support a contingency fee award, which is not the case here. See U-

Haul Co. of W. Ga. v. Ford, 171 Ga. App. 744, 746 (1984).6 Accordingly, the Court

should deny this motion as frivolous along with USI’s prior motion to strike the

affirmative opinion of Richard Robbins and allow Lockton to present all relevant

evidence in support of its fee claim at trial.

      Respectfully submitted this 19th day of April, 2023.7


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       To the extent this case might read to imply, incorrectly, that expert opinion is
always required, more current case law, as cited above, holds to the contrary. See
Brock Built, LLC v. Blake, 316 Ga. App. 710, 815 (2012) (affirming award of
attorneys’ fees where counsel testified as to reasonableness of contingency fee but
remanding for recalculation based on prevailing claims); see also John D. Hadden
& Jarome E. Gautreaux, Ga. Law of Torts – Trial Preparation & Practice §§ 3:29,
7:11 (2023 ed.) (stating that “an attorney may testify to, or state in his place, the
reasonableness of his contingent attorney fees”).
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       Pursuant to Local Rule 7.1(D), counsel certifies that the foregoing
Certificate of Service has been prepared in Times New Roman font, 14-point type.


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which is one of the font and point selections approved by the Court in Local Rule
5.1(B).

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